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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


TIKTOK, INC., BYTEDANCE LTD.,                      Case No. 20-cv-2658
              Plaintiffs,                          MOTION FOR LEAVE TO FILE
                                                   BRIEF OF AMICUS CURIAE
                    v.                             NETCHOICE
DONALD J. TRUMP, in his official capacity as
President of the United States; WILBUR L.
ROSS, JR., in his official capacity as Secretary
of Commerce; UNITED STATES
DEPARTMENT OF COMMERCE,

              Defendants.



      NetChoice respectfully submits this motion for leave to file the attached

amicus brief in support of Plaintiffs TikTok, Inc. and ByteDance Ltd. A proposed

order accompanies this motion.1

                            STATEMENT OF INTEREST

      NetChoice is a national trade association of e-commerce and online

businesses who share the goal of promoting convenience, choice, and commerce on

the Internet. Its members range from some of the most prominent online

businesses in the world to individual users of e-commerce services and include


1NetChoice informed both Plaintiff and Defendant of its intent to file this brief after
receiving notice of the Government’s brief in opposition to the motion for
preliminary relief. Plaintiffs consent to this filing. The Government stated that it
opposes this motion because it has already filed its brief. NetChoice believes that
given the discrete issues addressed in the attached brief, the Government should be
able to provide any arguments in response at the hearing on this motion and
NetChoice’s request should be granted.


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companies whose online platforms bring together users from around the globe.

NetChoice has an interest in expanding and zealously defending American free

enterprise and free expression from threats both foreign and domestic. Its

participation in this case will provide the Court with a broader perspective on the

Government’s actions, how it may affect the wider business community, and how it

could chill the First Amendment rights of NetChoice’s members.

                                     STANDARD

      District courts have “inherent authority” to grant participation by an amicus

curiae, which is derived from Federal Rule of Appellate Procedure 29. Youming Jin

v. Ministry of State Sec., 557 F. Supp. 2d 131, 136 (D.D.C. 2008). In determining

whether to grant leave to participate as an amicus, this Court has “broad

discretion,” Nat’l Ass’n of Home Builders v. United States Army Corps of Eng’rs, 519

F. Supp. 2d 89, 93 (D.D.C. 2007), and amicus status is generally allowed when “the

information offered is timely and useful.” Ellsworth Assocs. v. United States, 917 F.

Supp. 841, 846 (D.D.C. 1996).

      Specifically, this Court “normally allow[s]” an amicus brief “when the amicus

has unique information or perspective that can help the court beyond the help that

the lawyers for the parties are able to provide.” Youming Jin, 557 F. Supp. 2d at

137 (citing Ryan v. Commodity Futures Trading Comm’n, 125 F. 3d 1062, 10564

(7th Cir. 1997)); Cobell v. Norton, 246 F. Supp. 2d 59, 62 (D.D.C. 2003) (same). This

assistance to the court may take many forms, including “ideas, arguments, theories,

insights, facts or data that are not to be found in the parties' briefs.” See Northern




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Mariana Islands v. United States, 2009 U.S. Dist. LEXIS 125427, 3-4 (D.D.C. Mar.

6, 2009).

                                    ARGUMENT

      NetChoice should be granted leave to file the accompanying brief. Amicus

provides a unique perspective representative of its membership of companies and

individuals not before this Court, but whose actions and ability to do business will

be greatly impacted by this Court’s decision. NetChoice is deeply concerned about

Executive Order 13492 and the Department of Commerce’s regulations

implementing that Executive Order (together, “Government’s Actions”).

      First, the Government’s actions violate the First Amendment rights of U.S.

businesses, developers, and users. Although no one doubts that national security is

a significant governmental interest, the Government’s prohibitions on hosting or

using certain coding language, and its closure of an entire forum for 92 million

Americans, are broader than necessary. And because less-restrictive means exist,

these actions should not be implemented as is.

      Second, because the Government’s actions are unprecedented and extend

beyond what is seemingly appropriate to meet national security needs, they risk

collateral damage at home and abroad. By signaling a willingness to stretch

Government discretion to its max—if not beyond—the Executive Order and

regulations cast doubt on the United States’ commitment to open markets and

competition. And in doing so, the Government invites economic retaliation from

foreign countries.




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      NetChoice’s brief also provides ideas, arguments, theories, insights, facts or

data that are not to be found in the parties' briefs. NetChoice’s brief presents a

broader perspective on how the Court’s ruling will affect the First Amendment

rights of businesses that operate in the United States and globally. NetChoice also

provides insights as to how the Court’s ruling will affect business interests for

businesses that operate in other jurisdictions, such as the European Union not

represented by the parties to this case.

                                   CONCLUSION

      Amicus respectfully requests that the Court grant the motion and accept the

attached brief.



September 26, 2020                         By: /s/Jacob Sommer
                                           Jacob A. Sommer
                                           Marc J. Zwillinger
                                           ZWILLGEN PLLC
                                           1900 M St. NW, Suite 250
                                           Washington, DC 20036
                                           Phone: (202) 296-3585
                                           Facsimile: (202) 706-5298
                                           marc@zwillgen.com
                                           jake@zwillgen.com

                                           Attorneys for Amicus NetChoice




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